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                                                   AMENDED JUDGMENT IN A CRIMINAL CASE




Title & Section        Nature of Offense                            Offense Ended        Count




                                                    April 6, 2022
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                            IMPRISONMENT




                                RETURN
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AO 245B   (Rev.   /1 - VAW Additions   /1 )     Judgment in a Criminal Case


                                                                                                     Judgment-Page          of
DEFENDANT:
CASE NUMBER:
                                                   SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :




                                                MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.      You must make restitution in accordance with sections 3663 and 3663A, or any other statute authorizing a sentence of
        restitution. (check if applicable)
3.   You must not unlawfully possess a controlled substance.
4.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
5.      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      You must comply with the requirements of the Sex Offender Registration and Notification Act ( U.S.C. § 901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
        are a student, or were convicted of a qualifying offense. (check if applicable)
7.      You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245      (Rev.   /1 - VAW Additions    /1 ) Amended Judgment in a Criminal Case
                                                                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                         Judgment-Page                  of
 DEFENDANT:
 CASE NUMBER:
                                         STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions , available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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                SPECIAL CONDITIONS OF SUPERVISION
AO 245
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              (Rev. /1 - VAW Additions /1 ) Amended Judgment in a Criminal
              Case Sheet 5 - Criminal Monetary Penalties                                                               (NOTE: Identify Changes with Asterisks (*))

                                                                                                          Judgment - Page                 of
DEFENDANT:
CASE NUMBER:
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.



 TOTALS         $                            $                            $                       $                             $


     The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                                             Total Loss**                      Restitution Ordered               Priority or Percentage




 TOTALS


         Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             the interest requirement is waived for the          fine         restitution.
             the interest requirement for the          fine         restitution is modified as follows:




 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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